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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF LOUISIANA

TERESA BUCHANAN,                     )
                                     )
                  Plaintiff,         )
                                     )
      v.                             )                Case No. 3:16-cv-00041-SDD-EWD
                                     )
F. KING ALEXANDER, et al.,           )
                                     )
                  Defendants.        )
____________________________________ )

                PLAINTIFF’S REPLY TO DEFENDANTS’ OPPOSITION
               TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

       “The first rule of holes, according to an old saying, is to stop digging.” Lightspeed Media

Corp. v. Smith, 761 F.3d 699, 702 (7th Cir. 2014). Defendants, perhaps, have not heard this

adage, because their Opposition (Dkt. 43) (“Defs. Opp.”) to Plaintiff’s Motion for Summary

Judgment (Dkt. 35-1) (“Pl. SJ Mot.”) only reinforces why LSU’s termination of Dr. Teresa

Buchanan for “sexual harassment” was unconstitutional. They insist they acted under anti-

harassment policies based on a federal “blueprint,” yet fail to offer one whisper of a defense (and

cite zero authority) supporting the constitutionality of the policies, when their own submissions

to LSU’s Board of Supervisors illustrate why they violate the First Amendment. See Pl. SJ Mot.

27-28 (quoting legal memoranda Defendants supplied to Board). Defendants also claim they ter-

minated Dr. Buchanan for “sexual harassment,” when their own findings show they fired her for

constitutionally-protected pedagogical speech wholly unrelated to sex, gender, or harassment.

The Court should accordingly grant Plaintiff’s motion for summary judgment.

I.     Defendants Concede LSU’s Anti-Harassment Policies Are Facially Unconstitutional

       Through five submissions to this Court (Answer, Rule 12(c) and 56 motions, Rule 56

supplement and, now, Rule 56 opposition), Defendants have never defended PS-73 and PS-95,
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LSU’s sexual harassment policies, against Plaintiff’s facial First Amendment challenge. Compl.

¶¶ 13-80 (Dkt. 1); Pl. SJ Mot. § I.B; see Defs. SJ Mot. (Dkt. 30-1) 18. 1 Defendants acknowledge

LSU’s policies mirror a federal “blueprint” and assert their actions therefore were “reasonable,”

e.g., Defs. SJ Mot. 9-10, but make no argument and cite no authority to support the policies’

constitutionality, despite having the burden on that issue. E.g., Trebert v. City of New Orleans,

2005 WL 273253, at *4 (E.D. La. Feb. 2, 2005) (citing Hays Cty. Guardian v. Supple, 969 F.2d

111, 118 (5th Cir. 1992)).         In fact, the only documents in which Defendants discuss the

harassment policies’ facial validity explain why they violate the First Amendment. See Pl. SJ

Mot. 27-28 (quoting legal analyses Defendants submitted to Board).

        LSU’s policies do not limit sanctionable sexual harassment based on speech to only that

which is severe, pervasive, and objectively offensive enough to deny educational opportunities as

the First Amendment requires. 2 As a consequence, those malleable policies enabled Dr. Buch-

anan’s termination for saying things Defendants later admitted had no connection to sexual

harassment. See Pl. SJ Mot. 7-11, 20-21 & §§ I.C, II; Pl. Resp. 1-4. Yet Defendants’ Opposition

breathes not a word about the constitutionality of the challenged policies, or about the opacity of

Reinoso’s report regarding what did, and did not, contribute to the sexual harassment finding.

See Defs. Opp. passim; see also Defs. SJ Suppl. passim. At this point, Defendants’ silence can

only be taken as conceding the issue. E.g., Ward v. Midwestern State Univ., 217 F. App’x 325,

329 (5th Cir. 2007).




    1
    It is not possible to cite a specific page on this issue in Defendants’ Opposition to Plaintiff’s Motion for
Summary Judgment because it fails to address the facial validity of the policies at all. Defs. Opp. passim.
    2
      See Pl. SJ Mot. § I.B. See also Plaintiff’s Response (Dkt. 42) (“Pl. Resp.”) to Defendants’ Supplement to
Motion for Summary Judgment (Dkt. 40) (“Defs. SJ Suppl.”) at 3-4 (citing Davis v. Monroe Cty. Bd. of Educ., 526
U.S. 629, 652 (1999); DeJohn v. Temple Univ., 537 F.3d 301, 317-18 (3d Cir. 2008)).



                                                       2
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II.       LSU’s Policies Were Applied Unconstitutionally to Terminate Dr. Buchanan

          As Plaintiff has shown, the sexual harassment finding against Dr. Buchanan rested in all

but a few particulars on speech LSU’s “expert,” Director Reinoso, admitted was uncorroborated

or did not constitute sexual harassment – but were relied on at every stage of termination pro-

ceedings. See Pl. SJ Mot. 7-11, 20-21 & §§ I.C, II; Pl. Resp. 1-4. 3 In their summary judgment

opposition, Defendants continue harping on things Dr. Buchanan was alleged to have said or

done that Reinoso (and others) admit did not amount to sexual harassment, but that Dean

Andrew, the PS-104 Faculty Committee, President Alexander, and LSU’s Board all cited as part

of the effort to terminate Dr. Buchanan. See Pl. SJ. Mot. § I.B, II; Pl. Resp., passim.

          Defendants defend the firing as justified despite Dr. Buchanan’s First Amendment rights

on grounds that she was “aggressive during [an] assessment team meeting,” Defs. Opp. 4, be-

cause she was allegedly “kicked out of schools” where LSU student teachers had placements, id.

4, 5, or because of “lack of ‘professionalism,’” id. 6, or based on a “complaint of the Iberville

Superintendent” or “behavior [at] Iberville Schools and Zachary Schools.” Id. 6-7. Yet all of

these things have been expressly disavowed as serving as bases for any sexual harassment

finding. 4 Defendants have nothing to say about these disavowals, nor do they attempt to explain


      3
        Defendants try to dispute Plaintiff’s SUMF ¶ 96, which stated Reinoso “admits he cited Buchanan’s speech
as the basis for finding she violated LSU’s sexual harassment policies.” But this dispute conflicts with ¶ 53 of their
Answer (Dkt. 14), which admitted “Reinoso … cited Plaintiff’s speech as the basis for finding that she violated
LSU’s sexual harassment policies.” Defendants base this supposed dispute on their claim that “Reinoso identified
certain of Buchanan’s sexually-based comments directed to students and about students in the classroom as a basis”
for his finding. Defs. Resp. SUMF ¶ 96 (emphasis added). This is not a genuine dispute of material fact, but rather
is a characterization of fact. What is material, however, is that this statement clearly admits that Reinoso’s decision
was based on Buchanan’s speech. The same internal contradiction infects Defendants’ attempt to dispute that
President Alexander recommended termination based on Dr. Buchanan’s speech. Compare Pl. SUMF ¶ 152
(“Alexander explicitly cited Buchanan’s speech in explaining his decision to recommend dismissal for cause.”)
(citing Ans. ¶¶ 50, 51), with Defs. Resp. SUMF ¶ 152 (“Disputed. President Alexander identified particular
comments by Buchanan directed to and about students in the classroom as a basis for explaining his
recommendation to the LSU Board of Supervisors.”).
      4
       Pl. SJ Mot. 7-8, 20-21 & nn.12-13, 30-31, 33; Pl. Resp. 2-3 & nn.2-4. See also Pl. SUMF ¶¶ 85-87, 89, 91-
94; accord Defs. Resp. Pl. SUMF ¶¶ 85-87 (undisputed), 89 (undisputed), 91 (undisputed). Defendants object to Pl.
SUMF ¶¶ 92-94, but only on the asserted grounds that they view these statements of facts to be opinion. However,


                                                          3
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how or why these accusations were used in termination proceedings despite an absence of any

conceivable connection to sexual harassment. And on the few parts of Plaintiff’s motion and

opposition where Defendants do engage, their brief “arguments” do nothing to undermine Dr.

Buchanan’s entitlement to summary judgment.

         Defendants reiterate their assertion that Dr. Buchanan “cannot prove her speech was

protected by the First Amendment,” Defs. Opp. 3-6; see also, e.g., Defs. SJ Mot. § II.D, but

utterly fail to address the issue substantively. After initially citing Garcetti v. Ceballos, 547 U.S.

410 (2006), for the proposition that government employees lack First Amendment protection for

job-related speech, Defs. SJ Mot. 15-17, they offer no response whatsoever to the arguments that

the rule of Garcetti excludes academic speech, and that the Fifth Circuit recognizes that “class-

room discussion is protected activity.” Kingsville Indep. Sch. Dist. v. Cooper, 611 F.2d 1109,

1113 (5th Cir. 1980). See Pl. SJ Mot. 12-16. Instead, Defendants only repeat that Dr. Bucha-

nan’s termination was for interactions with “students and others,” Defs. Opp. 3, including “in the

classroom,” id. 5-6, and thereby confirm the issue in this case was over the “valid[ity] of [her]

pedagogy.” Id. at 5. Defendants thus concede the speech at issue falls squarely within First

Amendment protection for academic freedom. 5

         The lone case Defendants cite, Martin v. Parrish, 805 F.2d 583 (5th Cir. 1986), Defs.

Opp. 5, was already distinguished in Plaintiff’s summary judgment motion. See Pl. SJ Mot. 14

n.19. In that case, as Defendants even acknowledge, Martin was terminated for speech having

“no academic purpose or justification.” Id. (citing 805 F.2d at 586). In fact, Martin’s purpose

Defendants cite no countervailing record evidence, and thus have waived any argument that these facts are disputed.
See Fed. R. Civ. P. 56(c) & (e).
    5
       Pl. SJ Mot. 13-15 (citing, inter alia, Cooper, 611 F.2d at 1113; Williams v. Dallas Indep. Sch. Dist., 480 F.3d
689 (5th Cir. 2007); Cutter v. Stephen F. Austin State Univ., 767 F.3d 462 (5th Cir. 2014); Kaprelian v. Texas
Woman’s Univ., 509 F.2d 133 (5th Cir. 1975); Adams v. Trustees of Univ. of N.C.-Wilmington, 640 F.3d 550 (4th
Cir. 2011); Demers v. Austin, 746 F.3d 402 (9th Cir. 2014)).



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was to run his students down, with the Fifth Circuit emphasizing that his speech was not “for any

purpose other than cussing out his students as an expression of frustration with their progress,”

and that it was not an attempt “to motivate them.” Martin, 805 F.2d at 585. Here, conversely,

there is undisputed evidence in the record that Dr. Buchanan’s choice of material and method of

presentation were in service of her pedagogy, and were designed to help her students become

better teachers. 6 In particular, Defendants do not dispute that Dr. Buchanan explained that her

choice of language (for which she was targeted) sought to specifically further educational goals.

Nor do Defendants take issue with the fact that that language (to which some objected) was used

to instruct student teachers on, for example, coping with the use of everyday language by parents

in different communities. See Pl. SJ. Mot. 8-9. 7 The Opposition leaves no doubt Defendants set

out “to fire a tenured professor based on pedagogy and performance, but that the only way [they]

could think to do so was through LSU’s defective sexual harassment policies.” Id. 22.

III.        LSU Violated Dr. Buchanan’s Right to Due Process

            Defendants through their five submissions also have yet to cite any legal authority

supporting their defense that Dr. Buchanan’s firing satisfied constitutional due process. 8 Their

Opposition does not respond to any of the cases Plaintiff cited to show the constitutional flaws

that tainted LSU’s proceedings. See Pl. SJ Mot. 23-26 & nn.36-37. Instead, the Defendants say

the issue is simply that “Plaintiff disagrees with the LSU Board of Supervisors’ response.” Defs.


       6
       Pl. SUMF ¶¶ 109, 119; see also Defs. Resp. SUMF ¶¶ 109 (undisputed), 119 (objection that statement is not
material, but no citation to countervailing record evidence, waiving whether facts are disputed under Fed. R. Civ. P.
56(c) & (e)).
       7
        As noted, Dr. Buchanan provided a detailed written description of how she used language for pedagogical
purposes, and backed it with research supporting her approach. Pl. SJ Mot. 10 n.15 (citing Pl. SUMF ¶ 119). The
fact that some objected to the language had nothing to do with “sex” or “harassment,” and everything to do with an
officious administrator taking offense to what he perceived as personal criticism. Pl. SJ Mot. 3-4 (citing SUMF
¶¶ 26, 28, 35, 38-39); id. 20 (citing same).
       8
           Defs. Mot. J. Pldgs. (Dkt. 26-1) 17; Defs. SJ Mot. (Dkt. 30-1) 17; Defs. SJ Suppl. 8; Defs. Opp. 6-7.



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Opp. 7. But that is only a manifestation of the problem – the issue is that specific charges were

never clear at any stage of the process given how Reinoso compiled his finding to mask the

allegations, and how decision-makers up the chain relied on his finding. This undermined

Buchanan’s ability to mount an effective defense, and prevented decision-makers from grasping

and evaluating the actual charges. Pl. SJ Mot. 7-11, 20-21 & § II. On this key overarching

point, Defendants remain mute. 9

           But Dr. Buchanan’s experience was typical of what happens under the Department of

Education’s “blueprint,” which LSU admits it was implementing. Professor Laura Kipnis of

Northwestern University, who was charged with (and later cleared of) sexual harassment for

publishing an article in the Chronicle of Higher Education, has written that “the process is

stacked against the accused,” and that “typically the accusee doesn’t know the precise charges,

doesn’t know what the evidence is, and can’t confront witnesses.” Laura Kipnis, UNWANTED

ADVANCES 37 (Harper 2017). Check, check, and check. The due process deprivations are

obvious, but because schools face the threat of losing federal funding if they fail to vigorously

follow the “blueprint,” “[t]he safer path is simply to throw everyone accused of anything under

the bus.” Id. 39. That is precisely what happened in this case. 10

IV.        Dr. Buchanan Sued the Proper Defendants

           Given the astonishing lack of engagement with the issues in Defendants’ summary judg-

ment pleadings, their accusing Plaintiff of “ignor[ing] the most glaring defect in her case” is



      9
       Defendants continue down the line of attacking Dr. Buchanan’s “professionalism” and for being “disagree-
able” while repeatedly asserting she allegedly “offended” people. Defs. Opp. 6-7. Again: Dr. Buchanan was not
fired for being unprofessional, for “blunt remarks,” for failing to carry out duties, or any similar reason.
      10
        Kipnis said she was “thinking of cases like that of Teresa Buchanan” when she wrote “[a] student trying to
get a professor fired over a joke or some other passing offense is someone who utterly and callously misunderstands
the consequences of leaving someone else (often with dependents to support) jobless; and someone who has, in fact,
seized power while hiding behind the fiction of powerlessness.” Id. 63.



                                                        6
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ironic, to say the least. Defs. Opp. 7. Defendants repeat their assertion that they “did not fire the

Plaintiff” and claim she failed to address this issue. Id. In point of fact, Dr. Buchanan did

directly address these points, regarding the import of the Board rendering a final decision based

on Alexander’s recommendation and Monaco’s presentation, and the ability to gain effective

relief from these Defendants. Pl. SJ Mot. 28-29. Defendants simply have no answer regarding

the role each Defendant played in pursuing Dr. Buchanan’s termination, and offer no response at

all to the fact that LSU’s policies give hiring responsibilities to the Dean, HRM, and the

President. See id. 29 (citing Tab 62). Rather, Defendants are silent, just as they are with respect

to Plaintiff’s arguments on immunity, and on the statute of limitations. Id. § III. 11

                                                CONCLUSION

         Plaintiff Dr. Teresa Buchanan respectfully asks the Court to grant her Motion for Sum-

mary Judgment, and deny Defendants’ Motion for Summary Judgment, along with their Motion

for Judgment on the Pleadings.




    11
        Further, disputes of fact are few and far between in this case, and the handful of facts Defendants claim are
disputed are not material to Plaintiff’s entitlement to summary judgment. Defendants admit most of the material
facts, Defs. Resp. SUMF ¶¶ 1-2, 14, 16-18, 24, 27, 30, 32, 44-47, 49-50, 53, 55-56, 59-67, 69-74, 77, 80-82, 84-87,
89-91, 97-99, 101-102, 105, 109-112, 115, 117, 120-122, 128-132, 135-141, 144-151, 153, 155, and effectively
admit others by challenging them as “immaterial” but not disputing them, id. ¶¶ 3-13, 15, 19-23, 25-26, 28-29, 31,
33-43, 54, 57-58, 68, 75, 78, 83, 103-104, 106, 119, 124-127, 133-134, 154, 156-159, while relabeling others as
“opinion,” also without disputing them. Id. ¶¶ 52, 76, 92-95, 107-108, 114, 116. In the few instances where
Defendants identify actual disputes of fact, they fail to cite record materials in support of their position in most
cases, see id. ¶¶ 79, 88, 100, 113, 118, or they rely on inadmissible hearsay. Id. ¶ 51. Such assertions contravene
Fed. R. Civ. P. 56(c), allowing the Court to consider those statements undisputed as well. See Fed. R. Civ. P. 56(e).



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DATED: May 19, 2017

                                 Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing Reply to

Defendants’ Opposition to Plaintiff’s Motion for Summary Judgment was served on all counsel

of record on the 19th day of May, 2017 via use of the Court’s ECF system.


                                                  /s/ Robert Corn-Revere
                                                Robert Corn-Revere
